Case 2:23-md-03080-BRM-RLS Document 240 Filed 08/06/24 Page 1 of 1 PageID: 6280




                              UNITED STATES DISTRICT COURT
                                          for the
                                 DISTRICT OF NEW JERSEY

  IN RE: INSULIN PRICING LITIGATION                 Case No. 2:23-md-3080 (BRM)(RLS)
                                                    MDL No. 3080
  THIS DOCUMENT RELATES TO:
                                                    REQUEST BY LOCAL COUNSEL FOR
  Wayne County, Michigan v. Eli Lilly and           PRO HAC VICE ATTORNEY TO
  Company et al.; 2:24-cv-00523                     RECEIVE ELECTRONIC
                                                    NOTIFICATIONS
  Monroe County, Michigan v. Eli Lilly and
  Company et al.; 2:24-cv-00720

          Request is hereby made by local counsel for pro hac vice counsel to receive electronic

 notification in the above-captioned matter, and it is represented that:

          1.     An order of the Court granting a motion for pro hac vice in the within matter has

 been entered; and

          2.     The Admission Fee in the amount of $250, pursuant to L.Civ.R. 101.1(c)(3) has

 been paid to the Clerk of the Court (3/24 amendment).


 Dated: August 6, 2024                                 Respectfully submitted,

                                                       /s/ Mitchell J. Kendrick

 PRO HAC VICE ATTORNEY INFORMATION:

 Name:           Mitchell J. Kendrick

 Address:        950 W. University Drive, Suite 300

                 Rochester, Michigan 48307

 Email:          mjk@millerlawpc.com
